                       UNITED STATES BANKRUPTCY COURT FOR THE
                             MIDDLE DISTRICT OF ALABAMA
IN RE:
ALLEGRO LAW, LLC,                                                Case No. 10-30631-WRS
                                                                 Chapter 7
         Debtor.
CARLY WILKINS, as Trustee for
Debtors Allegro Law, LLC and
Allegro Financial Services, LLC
         Plaintiff,
vs.                                                              Adv. No. 11-03007
TIMOTHY MCCALLAN, et al.
         Defendants.

                     DEFENDANT, TIMOTHY MCCALLAN’S
             PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW


                                     INTRODUCTION

The Evidence now shows that Timothy McCallan has purged himself of contempt and should be

released immediately. Holding him any longer would be punitive. The Trustee sought to imply

that McCallan MUST have hidden documents and assets. The Trustee shows no evidence of

hidden documents or assets. Mr. McCallan was left to prove that these did NOT exist. It

became impossible for Mr. McCallan to prove a negative.



                             PROPOSED FINDING OF FACTS



Timothy McCallan (“Mr. McCallan”) was incarcerated on October 23, 2017 for contempt of

court stemming from post-judgment discovery requests. Since his incarceration, his wife, Mrs.

McCallan and her team have done everything humanly possible to answer every question asked

about every aspect of the case. Mrs. McCallan and Kellie Eckstein, a bookkeeper by trade, have

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provided this Court with documents, data and spreadsheets to show that Mr. McCallan does not

have any unrevealed documents or undisclosed assets. This Court finds that the Trustee’s red

herrings and assumptions are unfounded. The Court makes the following findings of facts:



A. MAS200 ACCOUNTING RECORDS AND PRODUCTION: On December 4, 2018

McCallan has produced the accounting software program, MAS200.         It details the financial

accounting transactions for all of McCallan’s businesses and some personal accounts. It is

important to layout the timeline of events, problems, mishaps and then finally good fortune that

lead to the submission of the most vital information that proves where McCallan’s money came

from and ultimately where it went.

    2013 the Trustee sends their own representative (Mr. Middleton) to CNI, a data storage

       company that was hired by McCallan to store the records for all of his companies. The

       Trustee was provided a list by McCallan of the servers and names of the files that they

       need to copy so that they have all the information they need. This was confirmed by Mr.

       Middleton’s testimony on May 7, 2019, Transcript page 38, Line 20.




    Unfortunately, Mr. Middleton did not copy NYFSI and NYMAS provided by McCallan

       and page 38, lines 1 and 2 he believed those systems did not exist anymore.




    On May 7, 2019 transcript on page 40, line 5-14, Ms. Tuff proves that since December

       18, 2018, had in their possession the three new servers that contain and data relevant to

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    Allegro Law, LLC and the underlying ligation and Middleton answers Yes:




  The Trustee never informs McCallan that MAS200 and the other 3 servers were not

    copied.

  McCallan believes the Trustee has all of the data that McCallan had in his possession.

  McCallan continues using MAS200 for two additional years. During this time McCallan

    is shutting down operation of his businesses. He runs out of money to pay CNI for

    storage and since the companies had been closed, he stopped doing business with them.

  McCallan needs accounting information to answer the Post Judgment Discovery and he

    attempted to obtain copies of the servers & MAS200 from CNI to no avail.

  McCallan is held in contempt and Ms. Eckstein tries to help answer the Post Judgment

    Discovery and seeks to find a copy of MAS200. She is familiar with MAS200 because

    she assisted McCallan with a project years ago. Ms. Eckstein also attempted to obtain

    records from CNI but was told “the court came and took everything, nothing is here”.




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    In the constant search for information, Ms. Eckstein found a file called “MAS200

       backup”. She was unable to open the files and enlisted assistance from the manufacturer

       of MAS200, SAGE, they informed her the files are not viewable and nothing would be

       able to be recovered from the backup.

    McCallan request that the Trustee send him what they cloned in 2013. Upon receipt of

       these files from the Trustee, McCallan discovers that the Trustee did not have all of the

       MAS200 files either. The MAS200 general ledgers from every company would clear up

       any question about all transaction.

    Mrs. McCallan questions CNI once again about missing files and the owner of CNI

       admits that he has a backup copy but she must pay him $36,000.00 for the remaining time

       of the contract that Mr. McCallan failed to pay in order to obtain the remaining files

       With a threat of subpoena, CNI finally released the information.

    While downloading these reports, the servers failed and Mrs. McCallan had to borrow

       money to buy new equipment in order to produce a copy for the Trustee.

    Ms. Eckstein wrote an instructional manual, a step by step guide on how to run reports

       and access all files in the program in addition to giving the Trustee copies of the reports.

    As of December 4, 2018, the Trustee has received all of McCallan’s financial accounting

       records they have been requesting.

    We believe that every document requested by the Trustee has been submitted, therefore he

should be released from contempt.



B. NO FOREIGN BANK ACCOUNTS: There is an assumption by the Trustee that McCallan

has overseas bank accounts. The Trustee has not provided any conclusive evidence that such


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accounts exist. The Trustee has continually asked that McCallan to prove that no such bank

accounts exist, i.e. to “prove a negative”. The Trustee produced one bank statement, Trustee’s

exhibit TX452B, as seen below, purports that Mr. McCallan received money wired to him from a

HypoSwiss Bank & Zurich. First, the account belongs to Intermark, a McCallan owned

company, and it is a corporate line of credit. Second, the money that was wired into said account

was Intermark’s Operating account at Signature Bank. This bank is based in New York and used

US dollars to make the payment. It was not a bank in Switzerland as the Trustee would like the

Court to believe. McCallan provided a copy of the original wire transfer instructions as well as a

copy of the Signature bank statement showing where the money originated. The truth becomes

clear when viewing the transactions on the statements side by side. They show the same date,

same amounts and same bank account numbers. On the wire transfer instructions Mrs. McCallan

has highlighted the same bank account number, same date, same amounts that the currency is

US, (United States Dollars), the country code : US, the sender is Signature Bank, the beneficiary

is Merrill Lynch. The evidence presented has completely ruled out the possibility of this being

money moved from a foreign account. Further, the Trustee was not able to produce one general

ledger entry for a foreign bank account. The Trustee has not been able to deliver any other

evidence of foreign bank accounts because they simply do not exist.




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C: NO COMPANY OWNED IN IRELAND (UK): The Trustee implies that McCallan might

own a company in Ireland, that he may have funneled money through. They produced an email

they submitted as Trustee’s Exhibit TX647. The email was a discussion about POSSIBLY doing

business in the UK. The Trustee attempted to make the argument even more convincing when

they showed the Court a stamp on McCallan’s passport of him entering Dublin.

The email was dated July 19, 2006 and the date McCallan went to Ireland on July 26, 2012. A

full 6 years later!




        The Trustee has access to all of McCallan’s emails and there is no evidence that an

overseas company actually exists. There is no evidence presented to show that McCallan opened

bank accounts, no corporate documents, no phone records, no corporate minutes and especially

no accounting records. Over a six-year time span there would have been credit card transactions,

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emails, something else, anything else, especially wire transfers to or from personal or other

corporate accounts because that was the natural course of business for him. The Trustee did not

present any bank statements either personal or corporate that show money ever going to any such

business. Ms. Eckstein has accounted for every withdrawal from McCallan’s personal accounts.

There are no entries that can be found to fund this assumed new business venture. McCallan

produced an accounting software system, MAS200. MAS200 has recorded all transactions in

McCallan’s corporate accounts and no entries can be found that indicate an investment being

made into an overseas corporation, thus virtually making it impossible for a new business

venture to be funded. The Trustee has not provided any other evidence showing a company was

ever opened or operated which is evidence that no such company exists.



D. PASSWORDS: At the last hearing, the Trustee asked for passwords to open two

spreadsheets. The Trustee implied that McCallan had hidden the passwords in a purposeful

manner to thwart the Trustee from finding hidden money. After the hearing, Ms. Eckstein found

the file in question on the computer that the Trustee had cloned. Mp40 Money Tree was an

attachment to an email between McCallan and his accountant. There was an additional email

that was sent just minutes before which provided the accountant with the password to open the

file. The copy of this email (which they already had in their files) was immediately sent to the

Trustee. The spreadsheet in question was a detailed accounting of the transactions in the

Brokerage account that McCallan and his brother Peter were trading in.      This file now clears up

all questions related to the Interactive Broker account and helps prove McCallan’s position. It

wasn’t until after the hearing that the Trustee finally admitted to having access.




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E. ACTUAL CASH ON HAND REPORTED TO THE TRUSTEE: Ms. Eckstein created a

spreadsheet detailing cash on hand. This was done to explain what McCallan did with all the

money he had put in his safe or other hiding places in the house. Every transaction she could

find relating to cash was logged here. Each cash withdrawal from bank accounts, whether

personal or corporate, were logged in according to date and indicated where the money came

from. Every time there was evidence of using cash it was logged in and she provided a column

for the running balance. At the end of her 11year analysis she showed a balance of $186,904.69

that she did not have receipts for spending.

   At the May 7, 2019 hearing, Ms. Eckstein did make some speculation about what could have

happened to the rest of the cash. She speculated that it would be possible, that McCallan could

have spent $15,000.00 per year for 12 years, totaling approximately $180,000.00 on various

things like, birthday parties, travel, meals, entertainment, Christmas gifts, etc. without records or

copies of receipt. Mr. Carol agreed that this could be possible. Therefore, there is no proof that

McCallan was not honest in his Bankruptcy Petition.



F. METALS: The Trustee implies that McCallan is hiding coins. Using documents submitted

by McCallan, the Trustee presents a few occasions of metals being purchased directly from

companies owned by McCallan. They imply that he did this solely to hide the fact they he

bought it. The Trustees assertion was not backed up by any evidence. Again, the Trustee wants

McCallan to prove a negative. Evidence of McCallan disclosing all information relating to

metals and proving their implication as false are as follows:

    McCallan provided invoices and records of all purchases and sales to show he isn’t

       hiding anything.


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  Metals purchased with corporate funds were posted to distributions, thus resulting in a

    taxable event. McCallan paid taxes on this money and therefore it cannot be hidden from

    the IRS, nor from his records.

  On one occasion a bookkeeper made a mistake by posting the purchase from Madaloni

    for $10,000 worth of metals to Professional Services. At the end of the year the error was

    found and it was corrected and reclassed to distributions. During these hearings Mr. Olen

    has presented this particular transaction twice when in fact it was only an error that was

    corrected in the same year that it was made. During testimony on May 6th, 2019, Mr.

    Olen, for the second time, mentions this transaction as seen on the Transcript page 213

    Lines 2 through 18:




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  It is logical that if the purchase was meant to be hidden a person would not draw

    attention to it by making a re-classification entry in their books. It would appear that if

    McCallan wanted to keep this transaction hidden he would not be paying taxes on it and

    Ms. Eckstein would not have used the documents showing the reclassification as

    evidence that the purchase was ever made.


  Mr. Carol created the spreadsheet TX19 which was his attempt to reconcile all the metals

    that were purchased and sold. Since he could not complete the reconciliation, he

    concluded that McCallan must be hiding more metals. In response to Mr. Carol

    conclusion, the McCallan team created the spreadsheet entitled Metals TX19 to rebut as

    seen below.

  An email from Chris McCallan explained he sold $50,000 worth of metals to Mr.

    McCallan and paid with cash. Ms. Eckstein created a spreadsheet detailing all of the

    metals purchased and sold. See the spreadsheet in Appendix A. Ms. Eckstein provided all

    dates, location and file names of the evidence found to support her entry. The schedule

    includes where the money came from to make the purchase, where the money went once

    the metals were sold, the name and type of metal purchased and sold, the quantity, the

    units cost, total cost, and ultimately the sales total. At the bottom it indicates the total

    money spent on purchases to be $1,451,406.72. McCallan’s total sales amount of

    $1,935,489.72, thus revealing that McCallan made a profit of $483,771.02 which was

    accounted for in the May version of TX257 on the deposits, withdrawal & expenses and

    cash on hand tabs.




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                                                                                                                                                          Money
Purchase                                                                                                                                                  Came
  date                     Evidence file name                          From                      Name                 Qty Unit Price     Cost Total        From
                                                                                    Johnson Matthey Gold Bars 32.15
 1/1/10    CostvsSalebasisGoldTimMcCallan2012TaxesCapitalGain          cash                       oz                   3     $43,974.77 $131,924.31        Cash

           Inv_22634_from_Southland_Coins_and_Collectibles_Inc.
 1/30/09                          _6624                           Southland Coins        Silver Eagles Coins 2009     9200    $16.42    $151,064.00     ML x10608
           Inv_26297_from_Southland_Coins_and_Collectibles_Inc.
 11/1/10                          _6624                           Southland Coins          Silver Eagles Coins        1000    $27.05     $27,050.00     Intermark
 8/19/11                   TimChrisTransaction.                   Chris McCallan               Silver Eagles          825     $43.60     $35,970.00       CASH
 6/8/07             TM14506-14524;Metals (page 1).pdf             Blanchard Gold        Gold American Eagle 1 oz       14     $705.52     $9,877.28     ML x10608
           Inv_21239_from_Southland_Coins_and_Collectibles_Inc.
 4/28/08         _6624. & Seton GL 2008 (page 315-319).pdf        Southland Coins     Gold Canadian Maple Leaf 1 oz   10      $923.00     $9,230.00       Seton
           Inv_21348_from_Southland_Coins_and_Collectibles_Inc.
 5/19/08                          _6624                           Southland Coins     Gold Canadian Maple Leaf 1 oz   107     $938.00   $100,366.00     ML x10608
           Inv_21472_from_Southland_Coins_and_Collectibles_Inc.
 6/13/08        _6624. &. Seton GL 2008 (page 315-319).pdf        Southland Coins       Gold Canadian Maple Leaf 1 oz   112 $893.00     $100,016.00       Seton
 1/30/09                                                          Southland Coins           Silver Eagles Coins 2009
 6/8/07             TM14506-14524;Metals (page 1).pdf             Blanchard Gold           Gold American Buffalo Coin    14  $705.52      $9,877.28     ML x10608
10/31/07               TM14506-14524;Metals (page 2)            California Numis. Inv.     Platinum Eagle 1 oz APUS      3  $1,464.00     $4,392.00     BOA x7480
10/31/07               TM14506-14524;Metals (page 2)            California Numis. Inv.          Palladium APAML          15  $395.00      $5,925.00     BOA x7480
10/31/07               TM14506-14524;Metals (page 2)            California Numis. Inv.          Gold Eagle 1/2 oz        20  $408.00      $8,160.00     BOA x7480
10/31/07               TM14506-14524;Metals (page 2)            California Numis. Inv.      Gold American Eagle 1 oz     10  $819.00      $8,190.00     BOA x7480
10/31/07               TM14506-14524;Metals (page 2)            California Numis. Inv. Gold American Buffalo 1 oz AUBU 10    $819.00      $8,190.00     BOA x7480
 1/1/09    CostvsSalebasisGoldTimMcCallan2012TaxesCapitalGain                               Pamp Suisse Bars 10 oz       6 $15,280.00    $91,680.00       Cash
           Inv_22635_from_Southland_Coins_and_Collectibles_Inc.
 1/30/09                            _6624                         Southland Coins       Gold Canadian Maple Leaf 1 oz   103 $974.75     $100,399.25     ML x10608
           Inv_24346_from_Southland_Coins_and_Collectibles_Inc.
 12/1/09                            _6624                         Southland Coins       Gold Canadian Maple Leaf 1 oz   118 $1,276.00   $150,568.00     ML x10479
           Inv_25622_from_Southland_Coins_and_Collectibles_Inc.
 7/16/10                            _6624                         Southland Coins       Gold Canadian Maple Leaf 1 oz    40 $1,235.80    $49,432.00     Credit Card
 9/1/10                 Maddaloni0001-0005 (page 4)              Madaloni Jewlers           Gold American Eagle 1 oz     20 $1,308.00    $26,683.20     BOA x 7480
           Inv_25969_from_Southland_Coins_and_Collectibles_Inc.
 9/17/10                            _6624                         Southland Coins       Gold Canadian Maple Leaf 1 oz    38 $1,318.40    $50,099.20     ML x10608
 4/25/11                            CASH                                                    Ausi Philharmoniker. 1 oz    2  $1,520.00     $3,040.00      CASH
 8/19/11                            CASH                          Chris McCallan        Gold Canadian Maple Leaf 1 oz    8  $1,877.80    $15,022.40      CASH
                                                                                       Johnson Matthey Gold Bars 32.15
                                                                                                        oz                                                Cash
                                                                                            Gold American Eagle 1 oz                                    ML x10608
                                                                                        Gold Canadian Maple Leaf 1 oz                                     Seton
           Inv_21375_from_Southland_Coins_and_Collectibles_Inc.
 5/27/08      _6624. also on. Seton GL 2008 (page 315-319).pdf    Southland Coins       Silver Canadian Maple leaf 2008 2500 $20.50      $51,250.00       Seton
 1/30/09                                                          Southland Coins           Silver Eagles Coins 2009                                    ML x10608
           Inv_24345_from_Southland_Coins_and_Collectibles_Inc.
 12/1/09                          _6624.pdf                       Southland Coins       Silver Canadian Maple Leaf 1 oz 6700 $22.55     $151,085.00 ML x10479
 5/25/07                   Americorp Check History               Madaloni Jewlers       Silver Canadian Maple Leaf 1 oz 775  $12.90     $10,000.00   Americorp
10/31/07               TM14506-14524;Metals (page 2)            California Numis. Inv.         Silver no name 1 oz      1002 $15.10     $15,130.20 BOA x7480
 1/30/09                                                          Southland Coins           Silver Eagles Coins 2009                                ML x10608
 2/2/11                             CASH                                                       Gold Saint-Gaudens        2  $1,353.00    $1,520.00    CASH
11/16/12                CNI 001-003.pdf. - paid by wire         California Numis. Inv.      Gold American Eagle 1 oz     3  $1,794.00    $5,382.00    CASH
                                                                                       Gold American Buffalo 1 oz AUBU                              BOA x7480
                                                                                            Gold American Eagle 1 oz                                BOA x 7480
                                                                                        Gold Canadian Maple Leaf 1 oz       $1,877.80                 CASH
 1/30/09                                                          Southland Coins           Silver Eagles Coins 2009                                ML x10608
           Inv_25968_from_Southland_Coins_and_Collectibles_Inc.
 9/17/10                            _6624                         Southland Coins       Silver Canadian Maple Leaf 1 oz 4376 $22.85      $99,991.60     ML x10608
10/14/10          CNI 001-003.pdf. - paid by cashiers check     California Numis. Inv.         Silver Eagles Coins      100  $23.38       $2,338.00      CASH
           Inv_26424_from_Southland_Coins_and_Collectibles_Inc.
11/15/10         _6624. Media Mogul GL 2010 (page 157).pdf        Southland Coins              Silver Eagles Coins      500  $28.65      $14,325.00      Intermark
 1/31/11          CNI 001-003.pdf. - paid by cashiers check     California Numis. Inv.         Silver Eagles Coins      100  $32.29       $3,229.00        CASH
                                                                                        Silver Canadian Maple Leaf 1 oz                                 ML x10479
 5/25/07                                                         Madaloni Jewlers       Silver Canadian Maple Leaf 1 oz                                 Americorp
10/31/07                                                        California Numis. Inv.         Silver no name 1 oz                                      BOA x7480
 1/30/09                                                          Southland Coins           Silver Eagles Coins 2009                                    ML x10608
 9/17/10                                                          Southland Coins       Silver Canadian Maple Leaf 1 oz                                 ML x10608
 5/25/07                                                         Madaloni Jewlers       Silver Canadian Maple Leaf 1 oz                                 Americorp
 1/30/09                                                          Southland Coins           Silver Eagles Coins 2009                                    ML x10608
 1/30/09                                                          Southland Coins           Silver Eagles Coins 2009                                    ML x10608

                                                                                                                                        $1,451,406.72

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                                                                                                                                                                                   Money
Sell Date              Evidence file name            Original Cost         Sold To                         Name                   Qty Sold Price       Sale Total      Gain        Went To
             47-E HELLCO1212YT-export.pdf. Page
                88. - Checks deposited into Hello                                                                                                                                Hello
 5/25/12    Performamce. & SilverSale1-May25, 2012    $43,974.77          Madaloni           Johnson Matthey Gold Bars 32.15 oz    1      $49,401.00 $49,401.00     $5,426.23 Performance
             47-E HELLCO1212YT-export.pdf. Page
                88. - Checks deposited into Hello                                                                                                                                Hello
 5/25/12    Performamce. & SilverSale2May25, 2012     $43,974.77          Madaloni           Johnson Matthey Gold Bars 32.15 oz 1 $49,401.00 $49,401.00             $5,426.23 Performance
 6/8/12         TM14506-14524;Metals (Page 3)           $16.42           Coin Gallery             Silver Eagles Coins 2009      175 $29.60    $5,180.00             $2,306.50 BOA x 1309
            CostvsSalebasisGoldTimMcCallan2012Ta
  6/8/12                 xesCapitalGain                $27.05            Coin Gallery               Silver Eagles Coins           1000     $29.60   $29,600.00  $2,550.00 BOA x 1309
  6/8/12                Bullion ck 73k.pdf             $43.60            Coin Gallery                   Silver Eagles              825     $29.60   $24,420.00 -$11,550.00 BOA x 1309
6/23/2012       TM14506-14524;Metals (page 19)         $705.52           Coin Gallery            Gold American Eagle 1 oz           10    $1,575.00 $15,750.00  $8,694.80 BOA x4091
6/23/2012       TM14506-14524;Metals (page 19)         $923.00           Coin Gallery          Gold Canadian Maple Leaf 1 oz        10    $1,550.00 $15,500.00  $6,270.00 BOA x4091
6/23/2012       TM14506-14524;Metals (page 19)         $938.00           Coin Gallery          Gold Canadian Maple Leaf 1 oz       107    $1,550.00 $165,850.00 $65,484.00 BOA x4091
6/23/2012       TM14506-14524;Metals (page 19)         $893.00           Coin Gallery          Gold Canadian Maple Leaf 1 oz       108    $1,550.00 $167,400.00 $70,956.00 BOA x4091
6/23/2012       TM14506-14524;Metals (page 19)         $16.42            Coin Gallery               Silver Eagles Coins           1,000    $28.00   $28,000.00 $11,580.00 BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                 xesCapitalGain                $705.52         Bullion Trading           Gold American Buffalo Coin        14     $1,593.80    $22,313.20   $12,435.92 BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                 xesCapitalGain               $1,464.00        Bullion Trading           Platinum Eagle 1 oz APUS          3      $1,377.00    $4,131.00     -$261.00     BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                 xesCapitalGain                $395.00         Bullion Trading               Palladium APAML               15      $555.00     $8,325.00    $2,400.00     BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                 xesCapitalGain                $408.00         Bullion Trading               Gold Eagle 1/2 oz             20     $15,938.00 $15,938.00     $7,778.00     BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                 xesCapitalGain                $819.00         Bullion Trading            Gold American Eagle 1 oz         10     $1,593.80    $15,938.00   $7,748.00     BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                 xesCapitalGain                $819.00         Bullion Trading        Gold American Buffalo 1 oz AUBU      2      $1,593.80    $3,187.60    $1,549.60     BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                 xesCapitalGain               $15,280.00       Bullion Trading            Pamp Suisse Bars 10 oz           6      $95,628.00 $95,628.00     $3,948.00     BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                 xesCapitalGain                $974.75         Bullion Trading         Gold Canadian Maple Leaf 1 oz      103     $1,593.80 $164,161.40     $63,762.15 BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                 xesCapitalGain               $1,276.00        Bullion Trading         Gold Canadian Maple Leaf 1 oz      118     $1,593.80 $188,068.40     $37,500.40 BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                 xesCapitalGain               $1,235.80        Bullion Trading         Gold Canadian Maple Leaf 1 oz       40     $1,593.80    $63,752.00   $14,320.00 BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                 xesCapitalGain               $1,308.00        Bullion Trading            Gold American Eagle 1 oz         12     $1,593.80    $19,125.60   $3,429.60     BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                 xesCapitalGain               $1,318.40        Bullion Trading         Gold Canadian Maple Leaf 1 oz       38     $1,593.80    $60,564.40   $10,465.20 BOA x4091
8/3/2012                                              $1,520.00        Bullion Trading           Ausi Philharmoniker. 1 oz         2      $1,593.80     $3,187.60    $147.60   BOA x4091
8/3/2012                                              $1,877.80        Bullion Trading         Gold Canadian Maple Leaf 1 oz       7      $1,593.80    $11,156.60   -$1,988.00 BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                xesCapitalGain             $43,974.77        Bullion Trading         Johnson Matthey Gold Bars 32.15 oz    1      $51,240.67 $51,240.67     $7,265.90     BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
8/3/2012                xesCapitalGain               $705.52         Bullion Trading               Gold American Eagle 1 oz        4      $1,593.80    $6,375.20    $3,553.12     BOA x4091
            CostvsSalebasisGoldTimMcCallan2012Ta
 8/3/2012               xesCapitalGain               $893.00         Bullion Trading           Gold Canadian Maple Leaf 1 oz        4   $1,593.80       $6,375.20   $2,803.20 BOA x4091
1/25/2013     McCallanSilverTransaction2013.jpg      $20.50            Coin Gallery               Silver Canadian Maple leaf      2,500 $32.05         $80,125.00   $28,875.00 BOA x1309
            McCallanSilverTransaction2013.jpg. And
1/25/2013      TM14506-14524;Metals (page 17)        $16.42            Coin Gallery                   Silver Eagles Coins         3,000    $32.55      $97,650.00   $48,390.00 BOA x1309
1/25/2013     McCallanSilverTransaction2013.jpg      $22.55            Coin Gallery            Silver Canadian Maple Leaf 1 oz    2,500    $32.05      $80,125.00   $23,750.00 BOA x1309
 4/25/14                                             $12.90   central Florida Coin & Bullion Silver Canadian Maple Leaf 1 oz       418     $18.00       $7,524.00   $2,131.80   Peter WF
 4/25/14               Bullion ck 73k.pdf            $15.10   central Florida Coin & Bullion          Silver no name 1 oz           6      $18.00        $108.00      $17.40    Peter WF
            CostvsSalebasisGoldTimMcCallan2012Ta
 4/25/14                xesCapitalGain               $16.42   central Florida Coin & Bullion          Silver Eagles Coins         1526 $18.00          $27,468.00   $2,411.08     Peter WF
 4/25/14               Bullion ck 73k.pdf           $1,353.00 Central Florida Coin & Bullion          Gold Saint-Gaudens           2   $1,300.89        $2,601.78    -$104.22     Peter WF
            CostvsSalebasisGoldTimMcCallan2012Ta
 4/25/14                xesCapitalGain              $1,794.00 central Florida Coin & Bullion       Gold American Eagle 1 oz        3      $1,300.89     $3,902.67   -$1,479.33    Peter WF
 4/25/14                                             $819.00  Central Florida Coin & Bullion Gold American Buffalo 1 oz AUBU       8      $1,300.88    $10,407.04   $3,855.04     Peter WF
 4/25/14                                            $1,308.00 Central Florida coin & bullion       Gold American Eagle 1 oz        8      $1,300.89    $10,407.12     -$56.88     Peter WF
 4/25/14                                            $1,877.80 central Florida Coin & Bullion   Gold Canadian Maple Leaf 1 oz       1      $1,300.89    $11,156.60   $9,278.80     Peter WF
            CostvsSalebasisGoldTimMcCallan2012Ta
 7/17/14                xesCapitalGain               $16.42         Southland Coins                   Silver Eagles Coins         3300     $22.83      $75,339.00   $21,153.00    WF x0716
            CostvsSalebasisGoldTimMcCallan2012Ta
 7/17/14                xesCapitalGain               $22.85         Southland Coins            Silver Canadian Maple Leaf 1 oz    4,175    $23.03      $96,150.25    $751.50      WF x0716
            CostvsSalebasisGoldTimMcCallan2012Ta
 7/17/14                xesCapitalGain               $23.38         Southland Coins                   Silver Eagles Coins         100      $22.83      $2,283.00     -$55.00      WF x0716
            CostvsSalebasisGoldTimMcCallan2012Ta
 7/17/14                xesCapitalGain               $28.65         Southland Coins                   Silver Eagles Coins         500      $22.83      $11,415.00   -$2,910.00    WF x0716
            CostvsSalebasisGoldTimMcCallan2012Ta
 7/17/14                xesCapitalGain               $32.29         Southland Coins                   Silver Eagles Coins         100      $22.83      $2,283.00     -$946.00     WF x0716
            CostvsSalebasisGoldTimMcCallan2012Ta
 7/17/14                xesCapitalGain               $22.55         Southland Coins            Silver Canadian Maple Leaf 1 oz    4200     $23.03      $96,726.00    $2,016.00    WF x0716
 6/11/15               Bullion ck 73k.pdf            $12.90         Southland Coins            Silver Canadian Maple Leaf 1 oz     24      $17.78        $426.72      $117.12     WF x9865
 6/11/15               Bullion ck 73k.pdf            $15.10         Southland Coins                   Silver no name 1 oz         996      $16.63      $16,563.48    $1,523.88    WF x9865
 6/11/15               Bullion ck 73k.pdf            $16.42         Southland Coins                Silver Eagles Coins 2009       180      $18.28       $3,290.40     $334.80     WF x9865
 6/11/15               Bullion ck 73k.pdf            $22.85         Southland Coins            Silver Canadian Maple Leaf 1 oz    201      $17.78       $3,573.78    -$1,019.07   WF x9865
  2015                                                12.9                                     Silver Canadian Maple Leaf 1 oz    333      $18.00       $5,994.00    $1,698.30      CASH
  2015             email form Tim computer           $16.42               Kid gift                 Silver Eagles Coins 2009        1       $0.00          $0.00        -$16.42     Trustee
 5/4/17         TM14506-14524;Metals (Page 3)        $16.42         Southland Coins                Silver Eagles Coins 2009        18      $0.00          $0.00       -$295.56     Trustee
                                                                                        15                                                                            $348.33       FEES
                                                                                                                                                      $1,935,489.72 $483,771.02


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G. TAX REFUND NOT ACCOUNTED FOR: The Trustee submitted to the court Trustee’s

Exhibit TX703, as seen below and in Appendix A, which included tax refund documents for the

tax years 2002, 2003 and 2004. These credits were awarded at the conclusion of an IRS audit

                                                                                  on June 18,

                                                                                  2007. One

                                                                                  refund for

                                                                                  $631,520.58, a

                                                                                  second letter for

                                                                                  $238,215.00 and

                                                                                  a third letter for

                                                                                  $28,364.00.

                                                                                  These credit

                                                                                  letters came to

                                                                                  total of

                                                                                  $898,809.58.

                                                                                  The Trustee

                                                                                  tried to convince

                                                                                  the court that

                                                                                  McCallan is
                       You get this amount IF you don’t owe other money           hiding these

refunds because these exact numbers do not appear on Ms. Eckstein’s list of deposits. Ms.

Eckstein was presented with these documents in court and she explained that McCallan did not

actually receive the entire refund. Ms. Eckstein also pointed out that the document itself clearly


                                                16

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stated “Amount to be refunded to you (if you owe no other taxes or debts we are required to

collect).” This means that if any other taxes from McCallan are due at the time of this refund,

the refund itself will be applied to that debt before money would be sent back. Ms. Eckstein did

in fact account for refunds in 2007 that totaled $196,475.88. This is highlighted in the




illustration boxed in red. This is an excerpt from the $16 million spreadsheet and as you can see

                                                17

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in the tax payment section, the refunds were accounted for by showing the actual amount

received by McCallan and which bank account it was deposited into. During 2007 there were no

tax payments made until December 2007 for $23,582. It would stand to reason that McCallan

owed taxes of $702,333.70 and it was paid by using the refund credit. Since he did not use all of

the credit the IRS ultimately refunded the $196,475.88 which has been calculated into

McCallan’s revenue on the Trustee’s spreadsheet. During Mr. Carol’s cross examination he

admitted that it is normal for people who have tax credits with the IRS to choose between letting

the IRS hold the money for future taxes that become due or getting a refund check. Please see

May 7th Transcript page 164 Lines 6-18.




                                               18

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   In this case, it is clear that McCallan’s credits were applied and the excess was sent to him.

Below are samples that show that McCallan applied tax credits towards future payments rather

than taking a refund.




                                                19

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H. IRS AUDITED MCCALLAN SEVERAL TIMES AND FOUND NO WRONGDOING.

The Trustee and Mr. Carroll found it odd that McCallan made many large transfers back and

forth between his personal accounts and his companies. They also implied that McCallan kept

his books this way to hide money. These transfers were made in this manner due to cash flow

problems. If one company was struggling and needed money to cover bills, another company or

McCallan personally would transfer Funds to help. When these companies were financially

capable, they would repay the loan and perhaps even became a lender to yet another company.

McCallan owned Intermark, a marketing company that provided processing services, affiliate

advertising and leads to the other companies. In this case, accounts payables and receivables

were created as well as journal accounts called “due to” and “due from”. Many real money

transfers stemmed from invoices and payments for services by one company to another. As sole

owner, McCallan is fully within his right to write off open invoices in one company against open

accounts payable on another. This can be legally done by a journal entry creating a taxable event

which records a distribution one side and a contribution on the other. McCallan’s companies

were closing one by one, his computer which was cloned by the Trustee, includes many emails

evidencing the financial troubles of each of these companies.

   McCallan has been audited many times by independent auditors and the IRS. None of these

organizations found fault in how McCallan’s accounting records were being recorded and how

transactions were being handled. As a matter of fact, there is a letter from the IRS in 2012 where

McCallan reported a $2.9 million loss in 2010 and after the audit the IRS found that there were

no changes due to the tax return. Please see below:


                                               20

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                                     21

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I. TOTAL MONEY MCCALLAN ACTUALLY RECEIVED: The Trustee tried to convince

this court that McCallan received almost $31 million dollars by presenting Mr. Caroll’s

spreadsheet submitted as Trustee’s Exhibit TX257. In May 2019, Ms. Eckstein talked through

an example to illustrate actual cash received to prove the money McCallan had.

  1. McCallan company makes $200 and pays $50 in business expenses

  2. McCallan is on Payroll and gets paid $75.00

  3. McCallan has to pay taxes on his payroll - $75.00

  4. McCallan deposits his paycheck into his checking account – total balance $75

  5. Company pays a 3rd party $25.00 directly for personal expenses

  6. McCallan has to pay taxes on the $25 the company paid out for his personal bills

  7. McCallan transfer money from checking into Savings $25.00

  8. McCallan decides to take money directly out of the company as a distribution

  9. McCallan has to pay taxes on his $50 distribution

  10. McCallan deposits his $50 distribution into his checking account

  11. McCallan transfers $25.00 to his Mutual fund account

  12. McCallan had to pay taxes on $150.00

  13. Total deposits into all accounts was $175.00

  14. Total money transfer between personal account to personal account was $50.00

  15. TOTAL MONEY HE ACTUALLY GOT = $125.00. total deposits minus transfers.

  16. Trustee’s position for the 16 million missing is prove what he did with the $150 (taxable

      income). They are including the $25.00 he never got as missing money.

  17. Subtract total income to pay taxes on minus the money he got = Money he NEVER GOT

  18. McCallan puts money back into his company.


                                               23

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      1        Company                      TAXES                                  TM Checking                   TM Savings                TM Funds

           Sales =
           Expenses
                       200.00
                      - 50.00
                                                                                      Total $
                                                                                      he got
                                                                                                 15                              14
                                                                                                                                       Total deposits. 175.00
                                                                                                                                      Total transfers. – 50.00
                                                                                      125.00                                          Cash actual got. 125.00
                       150.00
      2    TM Wages -75.00           3     75.00                                 4 75.00
                                                                                     75.00  deposit
                                                                                         deposit


        Company
                        75.00
                                                                                  -25.00        25.00 to
                                                                                                           7    25.00 Deposit
        Pays 3rd Party
                        5                                                                       savings
        Personal Exp.
        For McCallan
                                            25.00    6                            -50.00
        Directly       -25.00
                                                                                  -25.00                   25.00 to Funds        11      25.00 Deposit

                         50.00
           Distribution -50.00       9     50.00
                                                                                   50.00 deposit
          ___________________
                  8        0.00
                                                                                      10
                                                                          nses


                       25.00                                                                                                            Total Deposited
                                                             50.00 in expe




                                     Total to pay Taxes on                        Total Deposited              Total Deposited
        16m based on
           Income
      NOT REAL DOLLARS                      150.00                                    125.00                       25.00                   25.00

      The total income
                                16                  12
      to pay taxes on  150.00
           Money got. - 125.00
       Money NEVER GOT 25.00
              $25
                                                                                                    GRAND TOTAL OF DEPOSITS = 175.00        13
           MONEY HE
                                                                                    25.00
           NEVER GOT                                                               back to      18
                 17                                                               company




                                                                    24

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       This illustration made a clear distinction between cash McCallan received and taxable

events accounting. The Trustee has been using the tax distribution number of $30,750,202.92

rather than the actual money received, thus creating a red herring in the amount of money to

account for. Ms. Eckstein added transactions McCallan actually incurred in 2016 and 2017 to

Mr. Caroll’s schedule that only detailed through the end of 2015. Mr. Caroll’s total was adjusted

from $30,750,202.92 as of 12/31/2015 to $31,960,806.82 which is the total amount that

McCallan had to pay taxes on through 2017.

       The actual cash received by McCallan is detailed in the chart below. The total credits in

all of McCallan’s personal bank accounts, College Funds and IRA’s, total $41,474,400.20. This

amount includes $18,969,733.97 which was actual transfers between his own personal accounts



 Applying the real numbers from this case



     transfer between
     checking
     and savings & funds


  Money HE really GOT


               from Mr. Caroll
         Money he Really GOT



                  cash on hand


                                                    believed to be duplicated it was added back in
                                                    Set out to prove where this amount of money went
 total money proven spent
 Money he should have left

                                                    Assuming he spent approx 15K a year without receipts




                                               25

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which should be subtracted. This adjusts actual receipts to $22,504,666.23.    The difference

between this number and the Mr. Carol’s number of $31,960,806.82 is $9,456,140.59 which

represents money he needed to pay taxes on but never actually received. MAS200 details all the

money that was paid directly to 3rd parties from a company, all journal entries creating taxable

events and real money transferred from one company to another and therefore is not secreted.

       Following the chart above, McCallan’s actual cash receipts from 2007 to 2017 were

$22,504,666.23. Added to this amount are the beginning balances in McCallan’s bank accounts

as of 12/31/2006 which total $1,991,769.35 . There was also a good faith amount of

$299,662.06 added which is thought to be an error that was logged twice on Ms. Eckstein’s

schedule. These 3 amounts added together total $24,796,097.64 which are the total receipts that

need to be reconciled.

   McCallan’s team have proven that his actual expenses totaled $23,421,490.57 versus Mr.

Caroll’s schedule claiming $14.75 million, a difference of $8.65 million. Mr. Carol’s estimate of

expenses incurred by McCallan does not reflect the actual expenses incurred by McCallan as

evidenced by his bank statements. Ms. Eckstein provided vital information relating to the

evidence so it could be traced to its source. The entries on the spreadsheet included dates, the

bank accounts, file locations, document names and page numbers. The data was pulled from

copies of checks and deposits, bank statements, copies of invoices and receipts, check registers,

tax returns, emails, corporate financial reports from Mas200 and all other documents located in

the RFP’s. Ms. Eckstein was willing to sit with the Trustee to answer questions, but the offer has

been rejected every time by Mr. Olen.




                                                26

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    In summary, McCallan actually had cash receipts of $24,796,097.64 while spending

$23,421,490.57 which nets a difference of $1,374,607.07. The balance in the Morgan Stanley

accounts is $1,247,529.53 which leaves $246,731.84 unexplained.

        Therefore, it is clear that McCallan has provided the court with all of the information

requested to prove the whereabouts of the money following two different formats, the taxable

income and the cash basis model and has purged himself of contempt.



J. ECKSTEIN’S AND CAROL’S STARTING NUMBERS CLOSELY MATCH. On May

7, 2019 Mr. Carol created and had submitted Trustees Exhibit TX 665 as seen below which he

details cash receipts by McCallan for the period 2007 to 2015 of $22,366,502. The schedule

prepared by Ms. Eckstein’s details cash receipts of $22,504,666.23 for the same time period,

which is only a difference of $138,164.23, and Eckstein’s receipts are higher than Caroll’s

receipts.




                                                                  41,474,400.20          ECKSTEIN &
                                                                                          TRUSTEE
                                                                                       AGREE WITH THE
                                                                  18,969,733.97       REAL AMOUNT OF
                                                                                      MONEY MCCALLAN
                                                                                      ACTUALLY GOT TO
                                                                                           SPEND
                                    The difference between
                                     my # & Mr. Carroll =         22,504,666.23 The money he actually got
                                          138,164.23              +1,991,769.35 Money he had at 12/31/06
                                                                  24,496.435.58 Money available
    -6,178,717.34   Taxes paid                                      +299,662.06 Ck’s posted unknown dupe
    -9,242,721.90   Living Expenses                               24,796,097.64 Available to spend
      -272,305.76   NY house sale to Trustee                      -23,421,490.57 Spent money proven
    -2,272,378.24   Fl house paid off                              1,374,607.07 TOTAL MONEY HE HAS LEFT
    -2,498,449.43   Loans, cash saved, investments lost
    -2,956,917.90   Money put back in companies                    -1,247,529.53 Morgan Accounts 2017
    23,421,490.57   Total money proven to be spent                   -186,904.69 Cash on hand
                                                                      (59,827.15) Difference i can’t explain




                                                             27

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                                       Carroll
   The Trustee, by the production of their        - Direct
                                           own document, knows McCallan only received 56
                                                                                      $22.3
  1 and
million, yet two,
             led thereduce    it by he
                     court to believe the  1.75 close
                                        received million
                                                      to $32in  metals
                                                             million.    sothe
                                                                      Proof ldTrustee
                                                                               during knows
  2 that time period.          Then, what is the net cash actua lly
and understands the actual money numbers comes from Mr. Caroll’s direct testimony on the May
  3 deposited into McCallan's known bank accounts betwe en 2007 and
7th Transcript page 56, Line 6-16 below:
  4 2015 according to his own spreadsheet, Trustee's Ex hibit 671?

  5 A       Slightly more than $18 million.

  6 Q       And what is the total amount of net cash and property you

  7 projected after taxes but before expenses for 2007 through 2015
                           Carroll - Direct
  8 in Trustee's Exhibit 257?                                                        58

  91 Adifference
           A bit that
                 more I've
                       thanidentified.
                            $22 million.

 102 QQ     And so
            Why arehow
                     youwould you characterize
                          comparing  McCallan'sthe difference
                                                deposits      in the
                                                          in Trustee's

 113 Exhibit
     net amounts
             671 that McCallan admits
                 to estimated         he actually
                               cash after         deposi
                                           taxes on      ted e's
                                                     Truste  intoExhibit
                                                                  his

   4 known bank accounts between 2007 and 2015 and the n et cash you
 12 257?
   5 projected he would have before expenses during that same time
 13 A       Because, Your Honor, we know that there were some
   6 period in Trustee's Exhibit 257?
 14 distributions by McCallan companies that were paid to third
   7 A       Yes.   Your Honor, the known deposits into those bank
 15 parties on his behalf that never actually made it t o his bank
   8 accounts from '7 through '15 are broadly consistent with that
 16 account.
   9 which we've calculated on Trustee's Exhibit 257.                 I n fact, I
 17 Q       Can you give us an example of a distribution on Trustee's
  10 think I said the differences when you consider the Florida
       Then again on page 58, Line 13 & 14, during Mr. Caroll’s direct questioning he agrees
 18 Exhibit 257 that never actually hits McCallan's ban k accounts
  11 mortgage is about 15 percent, and considering the s ignificant
his
 19 number
   12 and  and
           thus
       amount  Ms.is
               of   Eckstein’s
                      not that
                   money       number
                                 we'reare
                           reflected    onvery close.
                                            Trustee's
                                       talking           Exhibit
                                                  about here     671,
                                                             and o ver athe summary
                                                                         long
 20
  13 of the of
     period deposits  into
               time that   his talking
                         we're bank account?
                                       about, I believe they're very
 21
  14 Acomparable,
           Yes. Referring   to -- right.
                  they're consistent.                 Your Honor, on Seton, we

 22
  15 found
     Q      for 2008,
           Let's       the look
                 turn and   Seton
                                at Company  madeside
                                    the expense  about
                                                     of $3.9  m illion in
                                                         Trustee's

  16 payments
 23  Exhibit 257. Afterto
              directly  you calculated
                          the IRS and the
                                       the McCallans' t otal
                                           State of New   Y ork that
   Once again, a red herring is being used by the Trustee in order to inflate the numbers
  17 were
 24  estimated cash in
          included  after taxes, what on
                       distributions  did 257
                                           you and
                                                do? for which never
portrayed
 25    A to the
  18 actually   Court
             Then,  I and
                  hit
                          further proves
                       reduced
                       his bankitaccount
                                         that the
                                     by $3.8      Trustee knows
                                                million
                                               because
                                                                the real amount
                                                          in estimated
                                                          they  were paiannual
                                                                                of money
                                                                            d directly
   19 living expenses, which I used Mr. McCallan's own pr oduction of
received as well as the amount of money spent from the production of evidence and the general
  20 his 2015 expense.        It was 422,595 a year.         I projec ted that
ledgers from Mas200.
  21 backwards and assumed those to be the living -- est imated
         ACCESS TRANSCRIPTS, LLC            1-855-USE-ACCESS (873-2223)
  22 annual living expenses for this analysis.

  23 Q       And just for the record, that
                                        28 2015 expense spreadsheet was
  24 Trustee's Exhibit 2017 introduced several hearings ago.
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  25 A       That's correct. Document         Page 28 of 54
          Eckstein, with hard back up has proven that McCallan
K. TRUSTEE INFLATED MCCALLANS CASH RECIEPTS: The Trustee has recently

inflated their original cash receipts claim from $30.75 million to $35.75 million. During the May

2019 court dates, the Trustee submitted two documents, first, Trustee’s exhibit TX677, which is

Mr. Caroll’s spreadsheet that assumes McCallan received $30.75 million with highlighted boxes

showing there are no distributions from Americorp for three years, 2009, 2010 and 2011.


                                                                                        TX 677




       Second, Trustee’s Exhibit TX682 included the schedule K-1 portion of the Tax return for

Americorp from 2010 and the final page of the detailed general ledger from 2010 from

Americorp of the distribution account and the final page of the detailed general ledger of the

contribution account. Mr. Caroll brought it to the courts attention the schedule K-1 does not list

a distribution amount. This is correct while reviewing the general ledger for Americorp,


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specifically the contribution and distribution accounts, it shows that the contributions are higher

than the distributions, and after the two numbers are netted together, there is no taxable amount

required to be reported on the tax return.

       It was the intention of the Trustee to convince this court that McCallan Mr. is hiding an

additional $3.34 million because Mr. Caroll never added the year end distribution number to the

Trustee’s original $30.75 million. It has already been established that the taxable distribution

amount has no bearing on this case. This is just another red herring. Ms. Eckstein accounted for

the money that McCallan actually received from Americorp in 2010 in her deposit schedule. It

does not matter if the Trustee wants to increase the taxable distribution number to a billion

dollars it will never change the fact that McCallan only received $24,796,097.64.

       After reviewing the ledgers, Mr. Caroll’s own evidence proves him wrong for all of his

assumptions. The Contributions ledger reveals only one of these entries, the one for 15,475.60,

is money being transferred from the Achieveable to an Americorp bank account, proving that

this is money never touched a personal McCallan account. All of the other transactions are

journal entries created to handle taxable events of removing a payable or loan from one company

to another. They are necessary entries that create taxable events but not cash that went directly

to McCallan’s personal accounts. This one document proves that using the Trustees format of

taxable events is 100% unreliable as a source to assume the amount of money McCallan had in

his possession because the Trustee is only explaining the amount of money that McCallan is

required to pay taxes on and does not reflect what he really received.




                                                 30

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                                     None15,475.60
                               Only the      of the was
                                                          ALL of the transactions
                               transactions   hit a bank
                                 an actual transfer   of
                                                           explain $3.9 million of
                                   account
                                 money   all they are
                                             the others     company to company
                                were  journal
                                  journal      entries
                                           entries  forto entries proving McCallan
                                record
                                 taxablea taxable   event never gave the money
                                           events only


 NONE of the contributions were made by
          McCallan personally



This proves that the tax returns cannot be used to determine the amount of money McCallan actually got




       The Trustees format of taxable events is unreliable as a source to estimate the amount of

actual cash received by McCallan because his taxable amount is not actually what he received.

The general ledger for the distribution account for the year supplied by Mr. Carol’s exhibit must

be tested before one can believe the assumption that McCallan received $3.3 million more under

the following scrutiny 1. Is it a distribution made to McCallan directly? 2. Is it a distribution

that McCallan is paying taxes on because it is a journal entry or real money moved between

Americorp and another company? 3. Is it a distribution that we directly to a 3rd party from the

company bank account? The following pages is the detailed general ledger for this year.

                                                  31

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                                Money to TM Directly


                                                               total money to TM
                           money to 3rd party Directly           on this page is
                                                                   13,955.78
                                 Money to TM directly




                                 money to 3rd party directly
                                                                Total money paid
                                                                directly to a 3rd
                                                               party on this page
                                                                  is 10,181.73


                                    Money to TM directly



                           Money to 3rd party directly

                               Money to TM directly


                          money to 3rd party directly




                                            32

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                          Money went directly to a 3rd party


                                Total money that
                                went directly to
                                 3rd parties on
                                  this page is
                                   1,246.79



                           Money went directly to TM
                                                                   Total money that
                          money went directly to a 3rd party      went to TM directly
                                                                    on this page is
                                                                       5,873.58
                            Money went directly to TM




                             Money went directly to a 3rd party




                                          33

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                          Money went directly to a 3rd party



                           Money went directly to TM




                           Money went directly to a 3rd party

                                    Money that went
                                 directly to a 3rd party
                                     on this page is
                                        4,159.50




                              Money went directly to TM
                                                                      Money that went
                                                                   Money that went directly
                                                                   directly to Tm on this
                                                                    to TM on this page is
                                                                           page is
                                                                          7,831.44
                              Money went directly to a 3rd party
                                                                          7,831.44




                                          34

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                          Money went directly to TM



                           Money went directly to 3rd party                         Money that
                                                                                    went to tm
                                                                                  directly on this
                                                                                      page is
                             Money went directly to TM                               5,873.58




                             Money went directly to 3rd party

                                        Money
                                      that went
                                      directly to
                                      3rd party
                                        on this
                                        page is
                                       1,761.05


                                    this is a journal entry to reclass as a biz
                                             expense. total is 361.00




                                             35

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                               journal entry to reclass biz
                             expense. on this page is 944.86




                                money went directly to TM

                      money went directly to 3rd party
                          money went to reclass biz expense

                                Money went directly to TM


                                                                 Money that went
                                                                  directly to 3rd
                             Money went directly to 3 rd party
                                                                   party on this
                                                                      page is
                                                                    15,837.60


                                                                           Money directly
                                                                           to TM on this
                            Money went directly to TM
                                                                              page is
                                                                             11,747.16




                                            36

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                            money went directly to 3rd party

                               journal entry to reclass biz expense


                          Money went to TM directly                   money going directly
                                                                      to TM on this page
                        money went directly to another company             5,873.58

                   Money went directly to TM




                             Money went directly to a 3rd party       money that went to 3rd
                                                                       party on this page is
                                                                            1,104.43




                            Money went directly to another company
                                                                          Money went to
                                                                         another company
                                                                           on this page
                                                                          2,577,552.43

                                      journal entry
                 journal entry for money to another company




                                               37

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                                   Money went to another
                                  company via journal entry
                                   on this page 555,274.95




                                                          Journal entries for business - 131,375.72
                                                 Total money that went to another company this year - 3,132,827.38

                                                              Total money that went to 3rd party - 34,291.10

                                                          Money that went to McCallan Directly = 51,155.12




    Mr. Carol trys to convince the court that McCallan received 3 million dollars more than he originally
      thought. His assumption is proved completely wrong. Once the numbers are laid out by actual
      transactions we completely prove that McCallan on got 51,155.12. All of this money has been
                                      accounted for by Ms. Eckstein




                                                    38

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This exhibit proved that if Mr. Carol were to increase distribution numbers the he would now

have to it by $3.1 million being moved between companies and reduce it again by $34,291 for

money being paid directly to a third party. It is proven Mr. McCallan only received $51,000

which was accounted for by Ms. Eckstein. MAS200 and the accounting of actual monies

received by McCallan now proves the Trustee and is basing the entire contempt case on

estimates and assumptions rather than actual transactions proven by banks statements and

general ledgers. This proves that McCallan’s team has proven that their schedules details, the

actual cash receipts versus the Trustees format using taxable distributions numbers which is not

actual cash receipts.

L. CRUCIAL EVIDENCE THAT PROVES USING DISTRIBUTIONS IS WRONG: A

Pivotal piece of evidence was submitted by the Trustee as Exhibit TX692. It was suggested that

there is even more money available to McCallan than the Trustee originally thought and that

McCallan is still keeping money hidden. The document showed a schedule K-1 for 2008 from

Seton that shows a distribution made to McCallan for $10,619,987 which was included in Mr.

Carol’s TX677 as part of the $30.75 million. The next set of pages was the detailed general

ledger of distributions for Seton in 2008. Reviewing these pages with notations, you will see that

there are distributions made to McCallan directly, payments directly to 3rd parties, transfers

between Seton and other companies, contributions from McCallan’s personal accounts.




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                                     40

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                                 journal entry correction

                                 Money went to 3rd party

                          Money journaled from other company

                               Money went to 3rd party

                          Money journaled from other company
                                 Money went to 3rd party
                           Money journaled from other company
                           Money went to 3rd party
                           Money journaled from other company
                              Money went to 3rd party

                                                            Text
                             Money went to & from TM Directly


                                  Money went to other
                                       company

                                Money went to TM directly




                                         41

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                          money went directly to TM
                          Money went directly to 3rd party
                          money went directly to McCallan



                   Money went directly to 3rd party taxes
                                                               TM put back
                     Money came directly from and went to TM



                      Money went directly to 3rd party

                             Money went directly to TM

                          Money went directly to 3rd party


                          money from other company

                      Money went directly to 3rd party

                           Money went directly to TM

                  Money went directly to 3rd party taxes




                                         42

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                     money went directly to 3rd party



                           Money went directly to TM


                       money went directly to other company


                           Money went directly to TM



                     Money went directly to 3rd party

                    money went directly to other company
                       Money went directly to TM

                      Money went to other company

                          Money went directly to TM

                      money went directly to other company




                                          43

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                       Money went directly to TM
                    Money went directly to 3rd party taxes

                       money journaled with other
                               companys




                                         44

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Summary of Seton Corporation 2008 distributions:

Total amount Trustee wants the court to believe McCallan received = 10,619,986

Total amount of money that went directly to 3rd parties = 4,133,390.85

Total amount of money that went to other companies = 4,033,683.01

Total money that were journal entries for business = 101,912.14

Total money McCallan put back in = 800,000.00

Total money McCallan actually Received = 3,151,000



       This proved the Trustees original $30.75 million is unreliable. The Trustee’s suggestion

to this Court that McCallan received this entire $10.6 million is misleading when McCallan only

received $3,151,000 which has been accounted for by Ms. Eckstein. From that money he

returned back to the company $800,000 which Ms. Eckstein has correctly accounted for. The

Trustee’s assumption that $16 million dollars is still being secreted needs to be reduced by the

$8,268,986.00 (money to 3rd parties plus money to other companies plus journal entries) in this

one sample alone. The Trustee has based the entire case on estimates and assumptions rather

than actual transactions proven by banks statements, documents and MAS200 General Ledgers.

This exhibit proved McCallan explanation as to where the money came from and where it has

ultimately been distributed to using actual cash receipts versus the Trustees format using taxable

distributions numbers. Using taxable numbers is artificially inflates the numbers leading the

Court to believe.

M. MCCALLAN HAS NO MONEY FOR HIS FAMILY TO USE:                            Mrs. McCallan has put

in thousands of hours working on the discovery for this case and as a result she has had no

choice but to close of both her boutiques. Along with her own earnings, she has lived off credit


                                                45

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cards and loans from friends and family to sustain most her bills and children's school bills. She

has testified under oath her struggles. Mrs. McCallan has been very fortunate with family

members and friends that have helped her sustain maintenance and repairs in a home that is

mortgage free along with doing much of the maintaining herself, both inside and out.    The

choice to leave her position as a Salesperson with a Mercedes dealership was based on the

economic need for more money, as well as the need to be with her three children who are also

suffering due to the pain of missing their father. Mrs. McCallan chose to accept a sales position

that will allow her to work from home instead of the 70 hours a week required at the Mercedes

dealership which included Saturdays and Sundays.

       In summary, McCallan’s production of evidence has always been based on fact,

evidence, true math calculations and the real amount of money that McCallan had in his

possession. The Trustee’s numbers have all been based on assumptions. The original

assumption that McCallan actually received $32 million was incorrect. The assumption that

McCallan spent $14.75 million over the 12 years was incorrect. The assumption that the

original $32 million was going to be increased was incorrect . The assumption that McCallan

has a Swiss bank account was incorrect. The assumption that McCallan has a company in

Ireland was incorrect . The assumption that there are coins hidden was incorrect. The

assumption that there is more cash on hand was incorrect. The assumption that Jeannie

McCallan is now using the hidden money, the very same money that we just spent 19 months

proving every movement of, is incorrect. The assumption that McCallan is lying when he says

this case has completely destroyed him for no reason was incorrect. The assumption that there is

more money anywhere is incorrect.




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       The Trustee has presented assumption after assumption. Each assumption has been

proven incorrect. The Trustee did not present any real hard evidence that McCallan still has

hidden money. The Trustee has asserted to the Court its faulty assumptions forcing McCallan to

prove several negatives. After reviewing all of the evidence it is clear that McCallan has

produced all of the documents required by the post-judgment discovery request, accounted for

the large majority of his available monies and there are no hidden assets.

                                    CONCLUSION OF LAW

APPLICABLE LAWS:

   1. A hallmark of civil contempt is the contemnor’s ability to “purge the contempt and obtain

       his release by committing an affirmative act,” thus “carr[ying] the keys of his prison in his

       own pocket.” International Union, United Mine Workers of America v. Bagwell, 512 U.S.

       821, 828 (1994).

   2. A sanction is “punitive and criminal if it is imposed retrospectively for a completed act of

       disobedience, such as the contemnor cannot avoid or abbreviate the confinement through

       later compliance.” Bagwell at 828-29.

   3. “A troublesome aspect of a trial court’s power to impose sanctions, either as a result of a

       finding of contempt, pursuant to the court’s inherent power, or under a variety of rules …

       is that the trial court may act as accuser, fact finder, and sentencing judge, not subject to

       restrictions of any procedural code and at times not limited by any rule of law governing

       the severity of sanctions that may be imposed.” Mackler Prods., Inc. v. Cohen, 146 F.3d

       126, 128 (2d Cir. 1998).

   4. “The absence of limitations and procedures can lead to unfairness or abuse” and “[f]or that

       reason, appellate courts have ruled that, in certain sanctions proceedings, the person facing


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    imposition of sanctions should have the benefit of the procedural protections available to a

    person charged with a crime” including “the right to a public trial … presumption of

    innocence … and the requirement of proof beyond a reasonable doubt.” Id.

 5. “[W]hen civil contempt sanctions lose their coercive effect, they become punitive and

    violate the contemner’s due process rights.” Commodity Futures Trading Comm’n v.

    Wellington Precious Metals, Inc., 950 F.2d 1525, 1530 (11th Cir.1992).

 6. It is within this Court’s inherent authority to enforce its own orders. Link v. Wabash

    Railroad Co., 370 U.S. 626, 630-31 (1962) (holding that judicial power to dismiss arises

    from court’s inherent authority to enforce its orders); see also Gratton v. Great American

    Communications, 178 F.3d 1373, 1374 (11th Cir. 1999) (recognizing that court has broad

    authority under Rule 37 to control discovery and enforce its orders).

 7. In a contempt proceeding for failure to comply with a court order, the contemnor has a

    defense if it is factually impossible to comply with the order. United States v.

    Rylander, 460 U.S. 752, 757, 103 S.Ct. 1548, 1552–53, 75 L.Ed.2d 521 (1983); Maggio

    v. Zeitz, 333 U.S. 56, 75–76, 68 S.Ct. 401, 411–12, 92 L.Ed. 476 (1948). While the court

    is bound by the enforcement order, it will not be blind to evidence that compliance is now

    factually impossible. Where compliance is impossible, neither the moving party nor the

    court has any reason to proceed with the civil contempt action. It is settled, however, that

    in raising this defense, the defendant has a burden of production. McPhaul v. United

    States, 364 U.S. 372, 379, 81 S.Ct. 138, 142, 5 L.Ed.2d 136 (1960); Maggio v. Zeitz, 333

    U.S., at 75-76, 68 S.Ct., at 411-412; Oriel v. Russell, 278 U.S., at 366, 49 S.Ct., at

    175. See also United States v. Fleischman, 339 U.S., at 362-363, 70 S.Ct., at 746




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MEMORANDUM IN SUPPORT:

       The February 6, 2018 Order of this Court was clear as to the requirements for Defendant

McCallan to purge his contempt. Defendant was required to demonstrate that he had purged

himself of contempt by complying with the following conditions: (1) he must provide updated

responses to specifically enumerated discovery requests, including two sets of interrogatories and

three sets of requests for production; (2) he must file an updated accounting for the $498,000 that

was in the Wells Fargo account; (3) he must amend his bankruptcy schedules and statement of

financial affairs in bankruptcy case number 17-30961; and (4) he must file a certification that he

has complied with the February 6, 2018 Order. (Doc. 629, pp. 2-3).

       It is uncontested that Defendant’s discovery responses pursuant to the February 6, 2018

Order were complete. Judge Sawyer acknowledged that fact within his oral pronouncement on

May 25, 2018 by stating “I want to make clear that – and Mr. McCallan with Ms. Eckstein’s help

did, in fact, file a complete set of responses, answers to interrogatories, requests for production of

documents. We’ve got the document. We’ve looked at them. We went through them in some detail.

And after a couple of hours or so, I stopped Mr. Widerman and said, okay, I get it, you filed

complete responses. If I was – I think if anybody was simply looking at the interrogatories and the

responses, they’d say, yes, these are full, complete responses to what’s asked. (Hr’g TR, 216-

17:22-25/ 1-6, May 25, 2018) However, despite filing complete responses to the documents

required to purge his contempt, Defendant McCallan is still in jail for the same continued

contempt.

       It is within this Court’s inherent authority to enforce its own orders. Link v. Wabash

Railroad Co., 370 U.S. 626, 630-31 (1962) (holding that judicial power to dismiss arises from

court’s inherent authority to enforce its orders); see also Gratton v. Great American


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Communications, 178 F.3d 1373, 1374 (11th Cir. 1999) (recognizing that court has broad authority

under Rule 37 to control discovery and enforce its orders). The continued civil incarceration of

Defendant McCallan has created an expensive, time consuming, and thus far ineffective path

forward in this case.

       The May 23, 2018 “Memorandum Decision” filed by this Court and incorporated by

reference within the May 29, 2018 Order, contains a new purge requirement never mentioned in

prior Orders. Judge Sawyer stated “[T]he bottom line remains simple. McCallan owed more than

$100,000,000. The evidence shows and the Court finds McCallan has secreted millions of dollars’

worth of money and property in locations presently unknown to the Trustee. Until he discloses all

of his property and turns over all of his ill-gotten gains, he remains in contempt.” (Doc. 707, pp.

34-35). It is certainly within this Court’s authority to provide new purge requirements.

       Defendant McCallan has disclosed all of his property. However, McCallan asserts that he

cannot comply with the various court orders because he does not have the ability to “turn over all

of his ill-gotten gains”. First, he has proven that the Trustee’s previous assertion that he has

secreted over $16 million is an incorrect assumption. Second, he has proven that he has no funds

to repay these loans. He has no secret bank accounts, no overseas accounts and no hidden cash or

coins. The case law is clear that when a defendant raises the defense of impossibility, the defendant

has a burden of production. McCallan has meet that burden. The Trustee would suggest that

McCallan has not met that burden. The Trustee is asking McCallan to prove that he DOES NOT

have any overseas accounts. To do this, McCallan would theoretically need to contact every bank

on the face of the planet and ask for an affidavit stating that he, his family or any of his companies

do not have an account with that bank. That would be an impossible and futile task. Proving that

he does not have any hard, actual cash would even be a more monumental task. McCallan did


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provide bank statements and data from MAS200 that prove that there are not transfers of monies

to overseas accounts.

         On July 9, 2018 the Court held a status conference. Counsel for McCallan asked how

McCallan could comply with the Contempt Order. The court indicated that McCallan had to

simply tell the truth. It is evident now after the reports generated from MAS200 that McCallan is

and was telling the truth about the whereabouts of all assets. It is evident that the Trustee will

not be satisfied that McCallan has purged these contempt orders until McCallan has delivered the

entire $102 million judgment plus the added sanctions imposed by this Court. This is an

impossible task, yet the Trustee continues to push for McCallan’s incarceration, even though the

Trustee has all of the required information. Based on the questions at the May 6 and 7, 2019

hearing, the Trustee wants to punish McCallan for:

           -   Data base discovery problems in 2013

           -   alleged documents dumps

           -   alleged tax fraud

           -   constantly updating a spreadsheet as information is made available

           -   Mr. Carrol having to do more work.

           -    having his children in private school. Even though he saved money in 529 plans

           -   his wife not moving out of their home, even though it would be more expensive to

               move

           -   his wife for not working 70 hours a week to the detriment of her children.

           -   Ultimately, for the acts that led to the $102 mil judgment.

       Contempt of Court CANNOT be used to punish civil litigants. Contempt of Court can

only be used to coerce a litigant to do something. In this case, it is to coerce Tim to turn over all


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financial documents and to account for all the money that he received. He has done both. To

hold him for one more day is criminal. The number one proof that McCallan has no hidden

money is that he has sat in the Montgomery City and County Jail for over a year and a half, and

there has not been one dollar, one account, or one gold coin disclosed or found. No matter what

McCallan has done in the past, no matter how strange the transactions looks – he is not hiding

information and he is not hiding money. Therefore, McCallan has satisfied his purge

requirements and is entitled to be released from civil incarceration.



                                         CONCLUSION

               This Court has ordered the incarceration of McCallan “until he discloses all of his

property and turns over all of his ill-gotten gains.” Over the course of the past eighteen months,

McCallan has diligently worked to provide all requested documentation and records and answer

all questions of the Trustee. Based upon the factual findings made above, it is clear to the Court

that McCallan has satisfied the Court’s purge requirement to the best of his ability by providing

everything within his care, custody and control. Further incarceration would be criminal, and

thus improper. McCallan must therefore be immediately released from incarceration.



                                                      Respectfully submitted by,

                                                      /s/ Michael A. Fritz, Sr.

                                                      Michael A. Fritz, Sr.

OF COUNSEL:
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334-230-9789 (fax)
Attorney for Defendant Timothy McCallan



                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 7th day of June, 2019, I served the foregoing by email
and/or US Mail, postage pre-paid to the following:



STEVE OLEN
Cunningham Bounds, LLC
1601 Dauphin Street
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LUCY E. TUFTS
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Carly Wilkins, Chapter 7 Trustee
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cwilkins@hammwilkins.com


                                       /s/ Michael A. Fritz, Sr.
                                       Michael A. Fritz, Sr.




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APPENDIX A




                                                SP011559




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